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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT

------------------------------------------------------x
                                                      :
ELLEN MURRAY                                          :   3:11 CV 629 (JGM)
                                                      :
v.                                                    :
                                                      :
TOWN OF STRATFORD, ET AL.                             :
                                                      :   DATE: JULY 25, 2014
------------------------------------------------------x

                           RULING ON MULTIPLE MOTIONS IN LIMINE

         Familiarity with this litigation is presumed, but for the sake of clarity, a limited

recitation of the procedural history follows. On April 20, 2011, plaintiff Ellen Murray, a now-

retired Assistant Fire Chief in the Stratford Fire Department, commenced this action against

defendants Town of Stratford, and James Miron, individually and in his official capacity as

the Mayor of the Town of Stratford (Dkt. #1), followed by an Amended Complaint on

September 19, 2011. (Dkt. #29). On February 8, 2012, the parties consented to trial before

this Magistrate Judge and the case was transferred from U.S. District Judge Janet Bond

Arterton to this Magistrate Judge. (Dkt. #37). On May 3, 2012, this Magistrate Judge filed

a Ruling on Defendant Town of Stratford's Motion to Dismiss the Fourth Cause of Action,

granting defendant Town's Motion on grounds that plaintiff failed to allege that she was

subjected to "discipline" within the meaning of CONN. GEN. STAT. § 31-51q. (Dkt. #51; see

Dkt. #30; see also Dkts. ##21, 24-27, 31-32). Thereafter, on July 10, 2012, defendants

filed their Answers and Affirmative Defense. (Dkts. ##56-57).

         On February 11, 2014, this Magistrate Judge filed a Ruling on the Parties' Cross

Motions for Summary Judgment and on Plaintiff's Motions to Strike ["Summary Judgment

Ruling"], in which defendant Town of Stratford's Motion for Summary Judgment was granted

in part and denied in part, defendant Miron's Motion for Summary Judgment was granted in
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part and denied in part, and plaintiff's Motion for Partial Summary Judgment was denied.1

Murray v. Town of Stratford, 2014 WL 558872 (D. Conn. Feb. 11, 2014). Jury selection and

a jury trial are scheduled to commence on August 11, 2014. (See Dkt. #114).

        Pending before the Court are seven Motions in Limine. On June 19, 2014, defendant

Miron filed his first Motion in Limine (Dkt. #120),2 and the next day, defendant Miron filed

a Motion in Limine to Exclude Evidence as to Damages (Dkt. #124).3 On June 24, 2014,

plaintiff filed her Motion in Limine (Dkt. #127), and on the same day, defendant filed his

third Motion in Limine (Dkt. #128), his fourth Motion in Limine (Dkt. #129), his fifth Motion

in Limine (Dkt. #130),4 and his sixth Motion in Limine (Dkt. #131).

        On July 11, 2014, defendant filed his objection to plaintiff's Motion in Limine (Dkt.

#137), and on July 14, 2014, plaintiff filed her briefs in opposition to defendant's six Motions

in Limine. (Dkts. ##140-45; see Dkts. ##136, 138).5 On July 24, 2014, defendant filed his

reply briefs to his first, second, third, fourth, and fifth Motions in Limine (Dkts. ##147-51),

and on the same day, plaintiff filed her reply brief. (Dkt. #152).

        For the reasons stated below, plaintiff's Motion in Limine (Dkt. #127) is granted in

part and denied in part; defendant's first Motion in Limine (Dkt. #120) is granted;


        1
            Plaintiff's Motions to Strike were also denied. 2014 WL 558872, at *9.
        2
        Attached as Exh. A is a copy of excerpts of plaintiff's deposition transcript, taken on March
21, 2012 [“Plaintiff’s Depo.”].
        3
         Attached to defendant's Motion are two exhibits: the same excerpt from plaintiff's
deposition (Exh. A); and a copy of Plaintiff's Damages Analysis, dated September 29, 2011 (Exh.
B).
        4
        Attached as Exh. A is a copy of excerpts of defendant Miron's deposition testimony, taken
on May 29, 2012 [“Miron Depo.”].
        5
           Attached as Exh. A to plaintiff's brief in opposition to defendant's Motion in Limine to
Exclude Evidence as to Damages (Dkt. #141) is an affidavit of plaintiff, sworn to July 11, 2014
["Plaintiff's Aff't"]; this affidavit is also Exh. A to Dkt. #142.

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defendant's second Motion in Limine (Dkt. #124) is granted in part and denied in part;

defendant's third Motion in Limine (Dkt. #128) is denied without prejudice to renew at a later

time; defendant's fourth Motion in Limine (Dkt. #129) is granted in part; defendant's fifth

Motion in Limine (Dkt. #130) is granted; and defendant's sixth Motion in Limine (Dkt. #131)

is granted in part.

                                         I. DISCUSSION

        A. STANDARD FOR MOTIONS IN LIMINE

        "The purpose of an in limine motion is to aid the trial process by enabling the Court

to rule in advance of trial on the relevance of certain forecasted evidence, as to issues that

are definitely set for trial, without lengthy argument at, or interruption of, the trial." Palmieri

v. Defaria, 88 F.3d 136, 141 (2d Cir. 1996)(citation & internal quotations omitted). In ruling

on a motion in limine, the court makes a "preliminary determination on the admissibility of

the evidence under Rule 104 of the Federal Rules of Evidence." Highland Capital Mgmt, L.P.

v. Schneider, 379 F. Supp. 2d 461, 467 (S.D.N.Y. 2005)(citations & internal quotations

omitted). "A district court's in limine ruling 'is subject to change when the case unfolds,

particularly if the actual testimony differs from what was contained in the . . . proffer.'" Id.,

quoting Luce v. United States, 469 U.S. 38, 41 (1984)(additional citation omitted).

        B. PLAINTIFF'S MOTION IN LIMINE (Dkt. #127)

        In this Motion, plaintiff seeks to exclude: (1) evidence of this Court's dismissal of

certain claims on summary judgment, including all claims other than plaintiff's First

Amendment retaliation claims; (2) evidence or testimony concerning any details of the

existence of or amount of plaintiff's husband, Thomas Murray's, pension with the defendant

Town of Stratford; (3) evidence or argument suggesting that taxpayers, including without


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limitation, the jurors, would be responsible for any monetary award to plaintiff; and (4)

evidence of promotions and hiring outside the Stratford Fire Department. (Dkt. #127, at 1-

2; see also id. at 3-9; see also Dkt. #152, at 1-5).

               1. EVIDENCE OF PLAINTIFF'S CLAIMS DISMISSED ON SUMMARY JUDGMENT

       In her Amended Complaint, plaintiff alleged that defendant Town discriminated

against her because of her gender, in their refusal to promote her, in violation of Title VII

of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e, and the Civil Rights Act of

1991, and CONN. GEN. STAT. § 46a-60(a)(1)(First and Third Counts); defendant Town has

discriminated against her based on gender plus race in violation of Title VII (Second Count);

defendant Town has taken affirmative disciplinary actions in violation of CONN. GEN. STAT. §

31-51q in punishing plaintiff for the exercise of her right to free speech and free association

under the First Amendment to the United States Constitution and/or by exercising her rights

under Sections 3, 4, or 14 of Article first of the Connecticut Constitution (Fourth Count);

defendant Miron has retaliated against plaintiff under 42 U.S.C. § 1983 for her exercise of

her right of association pursuant to the First Amendment (Fifth and Sixth Counts); and

defendant Miron deprived her of equal protection, in violation of 42 U.S.C. § 1983, through

his illegal conduct, in his official and individual capacities (Seventh and Eighth Counts). On

May 3, 2012, the Fourth Count was dismissed in this Magistrate Judge's Ruling on Defendant

Town of Stratford's Motion to Dismiss (Dkt. #51), and First, Second, Third, Seventh and

Eighth Counts were dismissed in the Summary Judgment Ruling, leaving only plaintiff's First

Amendment retaliation claim against defendant Miron in his official and individual capacities




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regarding plaintiff’s union activities (Fifth and Sixth Counts). 2014 WL 558872, at *10-24.6

        Defendant contends that it "does not currently intend to present evidence of or refer

to" the Summary Judgment Ruling, but "submits that such evidence could become relevant"

and is best dealt with at trial. (Dkt. #137, at 1-2). Additionally, defendant contends that

there is "some efficacy in informing the jury about what this case is not about: that it is not

about age, sex, gender, or race; that it is not about violation of wage and hour laws; and

that it is not about free speech." (Id. at 2). This Court disagrees. Identifying what this case

is "not about" only serves to confuse the jury. See FED. R. EVID. 403 ("Although relevant,

evidence may be excluded if its probative value is substantially outweighed by the danger

of . . . confusion of the issues . . . . "). Similarly, evidence that this Court dismissed several

of plaintiff's previous claims is not relevant to plaintiff's remaining claim, and will likely

confuse the jury and distract them from the central issues remaining in this case.

                2. AMOUNT OR EXISTENCE OF PLAINTIFF'S HUSBAND'S PENSION

        Plaintiff contends that evidence of the pension of her husband, Thomas Murray, a

retired member of the Stratford Fire Department, is irrelevant and would be prejudicial to

plaintiff, particularly because Thomas Murray is not a party to this case, and because he

receives an increased annual pension award due to a settlement of a workers' compensation

award. (Dkt. #127, at 6-8). Defendant asserts that Thomas Murray's pension is directly

relevant to plaintiff's proposed stipulations of fact that defendant Miron was concerned about


        6
         The Fifth Count was also dismissed as it pertained to plaintiff's allegation that defendant
Miron retaliated against her in response to her prior lawsuit. 2014 WL 558872, at *22-23.

        Plaintiff also seeks to exclude evidence of plaintiff's prior litigation with defendant Town
(Dkt. #127, at 5-6); similarly, in his fifth Motion in Limine, defendant moves to exclude such
evidence. (Dkt. #130; see also Dkt. #137, at 2; Dkt. #145). Accordingly, the parties agree, and
this Court holds, that such evidence regarding Howley v. Town of Stratford, 217 F.3d 141 (2d Cir.
2000) is precluded from admission at this trial. See also note 8 infra.

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costs facing the Town when considering a candidate for the position of Deputy Chief, plaintiff

and Thomas Murray were both members of the union, were both at the same level of

Assistant Fire Chief at that time, and now both are receiving substantial pensions from the

Town of Stratford. (Dkt. #137, at 3-5). In her reply brief, plaintiff reiterates that the

existence and/or amount of Thomas Murray's pension serves only to prejudice plaintiff. (Dkt.

#152, at 4).

        "Evidence of wealth . . . is generally inadmissible in trials not involving punitive

damages." Tesser v. Bd. of Educ. of the City Sch. Dist. of the City of NY, 370 F.3d 314, 318

(2d Cir. 2004)(multiple citations & internal quotations omitted). "Nevertheless, such evidence

may be admitted to impeach the testimony of a witness who opens the door to the subject.

Of course, to be admitted for this purpose, the wealth evidence must actually be inconsistent

with the witnesses's testimony." Reilly v. Natwest Mkts. Group Inc., 181 F.3d 253, 266 (2d

Cir. 1999)(citations, internal alterations & internal quotations omitted), cert. denied, 528 U.S.

1119 (2000). Defendant contends, however, that evidence of wealth may be admitted,

subject to "safeguards[.]" (Dkt. #137, at 3-4). In support of his contention, defendant relies

on United States v. Quattrone, 441 F.3d 153 (2d Cir. 2006), a decision that bears no

similarity to the case at hand. In that case, the Second Circuit held that the district court

acted within its discretion in finding that evidence of defendant's compensation "was relevant

to [his] motive to protect his reputation . . . [,]" and the references to such compensation

were used for the "limited purpose of establishing a motive to obstruct [the Government's

investigations of an initial public offering of stock] and could not be used to convict

Quattrone simply because of his wealth." Id. at 187. Under those circumstances, the Second

Circuit held that "[w]hile evidence of compensation, wealth, or lack thereof can unduly


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prejudice jury deliberations, that evidence may be admitted where other safeguards are

employed such as limiting instructions or restrictions confining the [G]overnment's reference

to that wealth." Id.

        In this case, plaintiff has made a claim for punitive damages in her Sixth Count (Dkt.

#29, ¶ 84), but what is at issue in this motion is the wealth of plaintiff and/or of her

husband, not that of defendant. As defendant acknowledges, plaintiff held the same

employment status as her husband in that she was also a member of the Stratford Fire

Department, at the same level of plaintiff, Assistant Chief, and they were both union

members. Thus, evidence of two "substantial" pensions will only serve to prejudice plaintiff.

(Dkt. #137, at 4). Additionally, in light of the enhancements made to Thomas Murray's

pension, the admission of Thomas Murray's pension would also serve to confuse the jury,

and will be prejudicial to plaintiff.

                3. EVIDENCE THAT ANY VERDICT AWARDED WOULD BE PAID BY THE
                TAXPAYERS

        Plaintiff seeks to exclude defendant from arguing that any verdict returned to plaintiff

would be paid by the taxpayers. (Dkt. #127, at 8-9). Defendant contends that the Town

of Stratford's residents are not included in the jury pool for the New Haven division (where

this case will be tried), and defendant Miron's cost containment policies are "a major issue

in this trial[.]" (Dkt. #137, at 6-9). In her reply brief, plaintiff "withdraws any objection to

. . . [d]efendant[] putting on evidence that the Town of Stratford will be obligated to pay any

judgment against [defendant] and that is the real party in interest in the official capacity

suit." (Dkt. #152, at 4).

        Despite plaintiff’s reversal of her position in her reply brief, her original contention is

the correct one -- "[c]losing remarks that appeal to jurors' pecuniary interests as taxpayers

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are, of course, generally improper[,]" Moore ex rel Estate of Grady v. Tuelja, 546 F.3d 423,

429 (7th Cir. 2008)(citation omitted)(regarding defense counsel’s statement that "The city

is not a random amorphous entity. It's you. We're talking about tax dollars here."), cert.

denied, 556 U.S. 1153 (2009), as are "so-called 'golden rule' argument[s] which ask[ ] the

jurors to place themselves in the position of a party." U.S. v. Palma, 473 F.3d 899, 902 (8th

Cir. 2007). A "golden rule" argument "is universally condemned because it encourages the

jury to depart from neutrality and to decide the case on the basis of personal interest and

bias rather than on the evidence." Id. (citations & internal quotations omitted).        Any

argument to the jury that a verdict awarded would be paid by taxpayers, would place the

jurors, as taxpayers themselves, even if they are not taxpayers of the Town of Stratford, in

the position of considering their personal interest.

               4. TESTIMONY FROM CURRENT POLICE CHIEF OF STRATFORD

       Plaintiff contends that defendant Miron should not be permitted to present evidence

regarding the hiring and promotion of persons outside the Stratford Fire Department, and

specifically, regarding the hiring of the Police Chief. (Dkt. #127, at 9).        Defendant

appropriately counters that plaintiff alleges in her Amended Complaint that:

               31. In February 2009, Stratford hired Randi Frank Consultants
               and Slavin Nationwide Management Consultants . . . to
               perform a nationwide search for candidates to fill three
               positions: fire chief, deputy fire chief and police chief.

               32. Randi Frank Consultants and Slavin Management Consultants are
               executive recruiting firms who advertise their ability to assist
               municipalities in recruiting a more diverse pool of candidates. . . .

               ...

               41. On June 9, 2009, Stratford hired a black male from outside the
               police department to fill the position of Deputy Police Chief.


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(Dkt. #29, at 10, 13). In her reply brief, plaintiff asserts that she has had no discovery

regarding the candidates for the Deputy Police Chief position; it is "simply irrelevant whether

[the hiree] was unionized in his prior department[;]" and it is "grossly unfair and prejudicial

to [plaintiff] to open this new area of testimony within weeks of trial." (Dkt. #152, at 4-5).

       Contrary to plaintiff’s arguments in her reply brief, she was the party who introduced

the issue of the Deputy Police Chief into the litigation. Plaintiff is correct that she does not

bear the burden of proving that defendant’s “anti[-]union animus extends to every union

member. . . .” (Id. at 5)(emphasis added). In contrast, Deputy Police Chief (now current

Police Chief) Patrick Ridenhower serves in a high level position in the Stratford Police

Department, a position which is reasonably analogous to that to which plaintiff had applied.

       Plaintiff complains that she has “had no discovery regarding the candidates for the

Deputy Police Chief position, whether any of the candidates were members of the . . .

Stratford Police Union, . . . [or] whether Chief [Ridenhower] was an active union member or

simply obligated to be a union member to work in his prior department. . . .” (Id.). The fact

that all parties chose to ignore this potential issue in their discovery is beyond the Court’s

control.

       The remaining issues for trial are limited to plaintiff's allegation of First Amendment

retaliation by defendant Miron because of her association and participation in the union.

(Fifth and Sixth Counts). Thus, the hiring of a Deputy Police Chief is relevant to plaintiff's

remaining claims to the limited extent relating to his union membership, involvement or

activities in the union, and the consideration thereof during the interview process. However,

in that defendant intends to call Chief Ridenhower as a witness (Dkt. #121, at 34), plaintiff

is entitled to take a brief deposition of him on these limited issues prior to trial.


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        C. DEFENDANT'S FIRST MOTION IN LIMINE (Dkt. #120)

        Defendant moves for an order precluding plaintiff from referencing, arguing, or

presenting evidence of a pattern or practice of promoting from within to the positions of Fire

Chief and Deputy Fire Chief in the Fire Department at the Town of Stratford. (Dkt. #120).

Defendant contends that "plaintiff does not claim that she suffered damages because she

was not promoted to the position of Fire Chief[,]" so therefore any claim for damages for not

being promoted to that position "is not of consequence[,]"7 "any claim relating to the Fire

Chief's position is irrelevant," there is no pattern or practice or disparate impact claim in this

case, and such pattern and practice evidence would violate the Mayor's discretionary hiring

authority under the Town Charter and the principal that implied contracts are not enforceable

against municipalities. (Id. at 1-6). Plaintiff responds that defendant has overstated the

Mayor's authority under the Town Charter; the practice of promoting from within is relevant

to plaintiff's damages claim, as her denied promotion harmed her career by denying her the

experience needed to qualify for the next promotional opportunity; and the practice of

promoting from within is relevant to motive. (Dkt. #140, at 2-9).8 In his reply brief,

defendant contends that plaintiff's argument is "inconsisten[t]" as plaintiff agrees that the

Mayor's discretion is limited by the Town Charter, but then asserts that "defendant had no

choice but to hire . . . plaintiff because of an informal pattern of practice of hiring from


        7
         The damages argument is addressed in Section I.D. infra.
        8
         In her response (Dkt. #145) to defendant's fourth Motion in Limine (Dkt. #130), plaintiff
also contends that while she requests that the Court issue an order directing the parties to exclude
any testimony or evidence regarding plaintiff's previous litigation, see note 6 supra, she requests
that the Court allow testimony and evidence regarding promotional practices of the Town and the
Fire Department. (Dkt. #145, at 1-3; see also Dkt. #152, at 2-4). In his reply brief, defendant
appropriately notes that the Town is no longer a party to this case, and that all the cases upon
which plaintiff relies are distinguishable. (Dkt. #151, at 1-4). For the reasons stated in I.C. infra,
evidence of a pattern or practice of promoting from within is precluded.

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within." (Dkt. #147, at 1-2).

               1. MAYOR'S AUTHORITY UNDER THE TOWN CHARTER

       As a "general principle[] regarding municipal charters[,]" defendant Miron had no

authority beyond that expressly granted in the Town Charter. Fennel v. City of Hartford, 238

Conn. 809, 813, 681 A.2d 934, 937 (Conn. 1996). "It has been well established that a city's

charter is the fountainhead of municipal powers . . . . Agents of a city, . . . have no source

of authority beyond the charter. . . ." Id. (multiple citations & internal quotations omitted).

The Mayor, as an agent of the Town, has "powers . . . measured and limited by the express

language in which authority is given or by the implication necessary to enable [him] to

perform some duty cast upon [him] by express language." Id. at 814, 681 A.2d at 937

(citations & internal quotations omitted). The excerpts of the Town Charter provided to the

Court in the parties' briefs provide that among the Mayor's duties is the "[s]election,

appointment and hiring of department heads, except as otherwise provided in this Charter[,]"

and the "[a]dopting as well as updating a written policy for recruiting, screening,

investigating and hiring all Town employees in accordance with approved job descriptions."

(Dkt. #120, at 3; Dkt. #140, at 3). Additionally, the Mayor holds the power to appoint the

"Directors[,]" which include the Fire Chief, Chief of Police, Administrator of Emergency

Medical Services, Human Resources, . . . and the heads of each administrative

department[,]" and such Directors shall "be chosen on the basis of his or her general

executive and administrative experience and ability and of his or her education, training and

experience in the class of work which he or she is to administer." (Dkt. #140, at 3-4).

While the Charter explicitly details the authority of the Mayor to appoint a Fire Chief, and the

limitations related thereto, the Charter does not grant the Mayor the authority to appoint a


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Deputy Fire Chief or other subordinate employees. Additionally, the Charter does not detail

the Mayor's authority with respect to the position of Deputy Fire Chief, other than to comply

with the Charter's mandate that the Mayor must develop a policy for "recruiting, screening,

investigating and hiring[.]" (See Dkt. #120, at 3; Dkt. #140, at 3). Thus, defendant's

argument that the Mayor has the decision to hire and fire within the Town's departments is

not a sufficient ground to preclude testimony about the Town's alleged pattern or practice.

       As both sides acknowledge, however, this is not a Title VII disparate impact case

where plaintiff is attempting to prove her case by using the employer's pattern and practice

of mistreating a protected group. (Dkt. #120, at 5-6; Dkt. #140, at 9). Rather, plaintiff is

trying to establish the opposite: that she did not benefit from a pattern or practice of

promoting from within, and she was denied that benefit as retaliation for her union activity.

Notwithstanding this argument, while plaintiff points to the career paths of several of her

colleagues to argue that the failure to promote her to Deputy Chief in 2009 has denied her

a promotion to Fire Chief in 2011 when the then-current Fire Chief retired, this contention

is entirely speculative. Although plaintiff directs the Court’s attention to others who were

promoted from within, defendant appropriately notes that such a pattern could not apply to

all who held the position of Assistant Chief, as plaintiff did. There are several Assistant

Chiefs, and only one Deputy Chief. Accordingly, evidence of a hiring pattern and practice is

not relevant. FED. R. CIV. P. 401 ("Evidence is relevant if: (a) it has any tendency to make

a fact more or less probable than it would be without the evidence; and (b) the fact is of

consequence in determining the action.").

       D. DEFENDANT'S SECOND MOTION IN LIMINE (Dkt. #124)

       In this Motion, defendant seeks to exclude: (1) evidence as to any claim of


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constructive discharge; (2) any claim for future damages; and (3) any claim for

compensatory damages; defendant seeks to exclude evidence, argument or reference to a

calculation of future damages as no expert has been disclosed. (Dkt. #124, at 1-13). In

response, plaintiff contends that it is of no moment that she did not assert a claim of

constructive discharge as a material adverse employment action in her Title VII

discrimination claim because plaintiff is asserting this in her First Amendment retaliation

claim; the Court "should decline [d]efendant[']s invitation to exclude evidence as to

[plaintiff’s] damages" on the basis of the two cases cited by defendant;9 a sanction for

exclusion of evidence of compensatory damages should be refused; and plaintiff does not

need an expert as she does not claim the benefit of inflation. (Dkt. #141, at 2-14). In his

reply brief, defendant reasserts that "[n]owhere in either [the Fifth or Sixth Count] does

plaintiff seek damages for emotional distress[,]" and she does not provide authority that she

can recover special or general damages. (Dkt. #149, at 1-2).

               1. CONSTRUCTIVE DISCHARGE

       In the First Amendment context, a public employment action is adverse if it would

deter a similarly situated individual of ordinary firmness from exercising her constitutional

rights. Smith v. Da Ros, 777 F. Supp. 2d 340, 354 (D. Conn. 2011)(citations omitted).

"[C]onstructive discharge is not necessary to establish a prima facie First Amendment

retaliation claim[,]" but "an adverse employment action must be established to have

occurred." Carone v. Mascolo, 573 F. Supp. 2d 575, 590, n.7 (D. Conn. 2008). In the context

of a First Amendment claim, “adverse employment actions include discharge, refusal to hire,

refusal to promote, demotion, reduction in pay, and reprimand[,]" but "lesser actions may


       9
        Plaintiff does not elaborate on her argument.

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also be considered adverse employment actions." Id. (multiple citations & internal quotations

omitted); see Ventura v. Town of Manchester, No. 3:06 CV 630(EBB), 2008 WL 4080099, at

*19-20 (D. Conn. Sept. 2, 2008)(denying summary judgment on First Amendment retaliation

claim as genuine issue of fact existed as to whether there was a causal connection between

plaintiff's speech and defendants' conduct, and whether plaintiff, who voluntarily resigned,

was constructively discharged.)

        In her Amended Complaint, plaintiff alleges that she suffered an adverse employment

action in defendant's refusal to promote her to the position of Deputy Chief. In her damages

analysis, dated September 29, 2011, plaintiff seeks back pay and front pay, and she attaches

spreadsheets reflecting the difference between the Stratford Fire Chief salary, and the

Naugatuck Deputy Chief salary, yet at no time until this brief in opposition did plaintiff assert

a claim of constructive discharge. Now, in support of her claim of constructive discharge,

plaintiff attaches a new affidavit, detailing, for the first time in this case, that the adverse

action she suffered in defendants' failure to promote her to Deputy Chief ultimately led to

a constructive discharge in mid-June 2010, more than a year before she filed her Amended

Complaint in this case, when she retired from the Stratford Fire Department and accepted

a position in another department. (Dkt. #141, Exh. A, Plaintiff Aff't ¶ 25).

        Plaintiff relies on Barclay v. Michalsky, 451 F. Supp. 2d 386 (D. Conn. 2006), in

support of her claim that her constructive discharge claim exists by virtue of her First

Amendment retaliation claim. However, her reliance on the Barclay decision is misplaced,

as in that case, at the time that plaintiff brought her action, she alleged "several . . . adverse

employment      actions:   discipline/administrative   leave,   demotion     and    ‘reeducation’

programming, transfer . . . , and constructive discharge." 451 F. Supp. 2d at 397. In the


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summary judgment context, U.S. District Judge Janet Bond Arterton found that those actions

constituted adverse employment actions. Id. at 398. In this case, the only adverse

employment action alleged by plaintiff was the failure to promote plaintiff to the Deputy Chief

position. See Summary Judgment Ruling, 2014 WL 2014 WL 558872, at *19. In her brief in

support of her own Motion for Summary Judgment, plaintiff agreed: "It is undisputed that

the [d]efendants refused to promote Murray . . . . Therefore, Murray suffered an adverse

employment action. For the foregoing reasons, Murray has proved the second element of her

First Amendment retaliation claim." (Dkt. #79, Brief, at 18). Moreover, at her deposition,

plaintiff was specifically asked: "Q. So the . . . retaliation that you're complaining about . .

. [is only] to the extent it concerns whether or not you were hired [as Deputy Chief] - -

you're not making any claims of discrimination past that point?” Plaintiff answered simply:

“No." (Dkt. #124, Exh. A, Plaintiff's Depo at 145). Plaintiff cannot now seek damages on

a claim not included in this case. Accordingly, plaintiff is prevented from arguing, presenting

and/or introducing evidence regarding any claim of constructive discharge.

                2. EMOTIONAL DISTRESS DAMAGES

        Additionally, plaintiff contends that defendant's effort to define her claim as "relating

to only the economic damage that is measured by the difference in income between that of

a Stratford Assistant Chief and a Stratford Deputy Chief[,]" is "inaccurate" because plaintiff

"has plead emotional distress, humiliation, loss of promotional opportunities, damage to

reputation, as well as claims for attorney[']s fees and punitive damages." (Dkt. #141, at

4).10 However, in the Fifth and Sixth Counts, the only remaining counts in this case, plaintiff

        10
          Plaintiff relies on a newly sworn to affidavit, filed along with her brief in opposition, in
which she claims that once she "realized that [she] stood no chance of being promoted to Deputy
Chief in Stratford[,]" and that "[t]here was nothing [she] could do to overcome the pervasive anti-
union sentiment and the humiliation and frustration of reporting to someone who was bringing

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asserts the following claim of damages: "Murray has suffered and will continue to suffer

damage caused by defendant’s illegal conduct including loss of wages and benefits and

long-term economic detriment due to lost seniority, loss of status in her profession and lost

career options." (Dkt. #29, ¶¶ 78, 83). At no time did she assert a claim for emotional

distress, and thus such claim is not part of this case. (See Dkt. #149, at 1-2).11

                3. FRONT PAY

        Similarly, regarding the front pay claim, the only remaining claim in this case is

plaintiff's failure to be promoted to Deputy Fire Chief, for which claim plaintiff may be entitled

to compensatory damages; however, plaintiff premises her claim for front pay solely on her

claim that she was constructively discharged. As discussed in Section I.D.1. supra, plaintiff

does not have a claim for constructive discharge. Accordingly, plaintiff is prevented from

arguing, presenting and/or introducing evidence regarding front pay.

                4. COMPENSATORY DAMAGES

        Defendant Miron seeks to preclude plaintiff from presenting evidence of

compensatory damages because "she failed to provide any evidence or information on such


nothing to the Department but was a daily reminder of the cost of being a union member[,]" she
"made the difficult decision to leave the department [she] had dedicated almost [twenty-eight]
years to." (Dkt. #141, Exh. A, Plaintiff’s Aff't, ¶¶ 24-25; see also id. ¶¶ 15-24).
        11
           As discussed above, in the Fifth and Sixth Counts, plaintiff alleges that she "has suffered
and will continue to suffer damage caused by defendant’s illegal conduct including loss of wages
and benefits and long-term economic detriment due to lost seniority, loss of status in her
profession and lost career options." (Dkt. #29, ¶¶ 78, 83). Defendant observes that plaintiff "fails
to provide any authority for the proposition that 'long-term economic detriment due to lost
seniority, loss of status in her profession and lost career options' are recoverable as either special
damages or general damages." (Dkt. #149, at 2).

        In her Amended Complaint, plaintiff alleges that "[defendant] retaliated against [her], by
denying her promotion to Deputy Fire Chief for which she was qualified because of her participation
in union activity." (Dkt. #29, ¶¶ 77, 82). Her damages are limited to the difference in pay and
benefits between her position as an Assistant Fire Chief, and the position to which she claimed she
was denied, the position of Deputy Fire Chief.

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damages to [d]efendants." (Dkt. #124, at 6-10). Plaintiff provided her Damages Analysis

on September 29, 2011 (see Dkt. #124, Exh. B), in which she seeks "(1) compensatory

damages pursuant to 42 U.S.C. § 2000e-5(g), [CONN. GEN. STAT.] § 31-51q, and pursuant to

42 U.S.C. § 1983[.]" Plaintiff attached to that Damages Analysis three spreadsheets: one for

the Stratford Fire Chief salary from 2011 to 2025; one for the Naugatuck Deputy Chief salary

from 2011 to 2025; and one for the difference between the Stratford Fire Chief salary and

the Naugatuck Deputy Chief salary from 2011 to 2025. (Dkt. #124, Exh. B). This disclosure

does not comport with Federal Rule of Civil Procedure 26(a)(1)(A)(iii), which requires that

parties disclose

        a computation of each category of damages claimed by the disclosing party
        – who must also make available for inspection and copying as under Rule 34
        the documents or other evidentiary material, unless privileged or protected
        from disclosure, on which each computation is based, including materials
        bearing on the nature and extent of injuries suffered.

This disclosure must be made "at or within [fourteen] days after the parties' Rule 26(f)

conference unless a different time is set by stipulation or court order." FED. R. CIV. P.

26(a)(1)(C). Rule 26 also provides that a "party is not excused from making its disclosures

because it has not fully investigated the case or because it challenges the sufficiency of

another party's disclosure . . . . " FED. R. CIV. P. 26(a)(1)(E).

        As U.S. Magistrate Judge Holly B. Fitzsimmons held just two months ago, "This

particular rule does merely require a plaintiff to describe its damages in general terms, such

as 'compensatory,'" as plaintiff does in this case, but rather, this rule requires that a plaintiff

"as best as the party is able at an early stage in the case – . . . provide a computation of

each category of damages, and . . . produce the documents on which that computation is

based." Lima v. PHL Variable Ins. Co., No. 12 CV 1122(WWE), 2014 WL 2002485, at *1 (D.


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Conn. May 15, 2014), quoting Ritchie Risk-Linked Strategies Trading (Ireland), Ltd. v.

Coventry First LLC, 280 F.R.D. 147, 159 (S.D.N.Y. 2012)(additional citations omitted). The

"[f]ailure to provide damages computation documents may result in exclusion of damage

calculation evidence or expert testimony regarding damage calculations at trial." Lima, 2014

WL 2002485, at *1 (citations & internal quotations omitted).

        Plaintiff responds that she provided nearly seven hundred pages of documents, which

included her contract with the Naugatuck Fire Department, her tax returns, and her pension

statement from Stratford. (Dkt. #141, at 7). Additionally, plaintiff contends that the salary

information from her position as Assistant Chief, and the salary information for the positions

of Deputy Chief and Fire Chief of Stratford, are paid by defendants pursuant to written

contracts that are public records, and the contract from the City of Naugatuck, detailing the

salary and benefits for the Deputy Chief position, was provided to defendants. (Id.). Thus,

"[e]very assumption used in the calculation was included in the disclosed Financial Analysis."

(Id. at 7, 13).

        Plaintiff's response is similar to that offered by the plaintiff, and rejected by the

Second Circuit, in Design Strategy, Inc. v. Davis, 469 F.3d 284, 293 (2d Cir. 2006). In that

case, plaintiff Design Strategy, Inc. ["Design"] did not provide "any specific computation of

lost profits nor [did it] provide[ ] any evidence on the basis of which such computation [of

lost profits] might be made." Id. The district court ruled that Design's failure to abide by

FED. R. CIV. P. 26(a)(1)(c) meant that the evidence of lost profits would not be admissible.

Id. Design objected, claiming that "it had, in fact turned over evidence from which a

computation of damages could be made – its financial records[,]" and that "it was not

obligated to provide a calculation of damages because of the calculation of damages from


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these records would be 'simple arithmetic.'" Id. The district court held, however, that the

reality "is quite the opposite[,]" and informed Design that "saying that you provided

documents to the defendant doesn't go far enough in meeting your burden of proof on this

issue[,]" and constitutes a failure to comply with Rule 26(a). Id. at 293-95. Affirming the

district court, the Second Circuit explained, "by its very terms Rule 26(a) requires more than

providing – without any explanation – undifferentiated financial statements; it requires a

'computation,' supported by documents." Id. at 295.

       Additionally, while plaintiff argues that defendant Miron should have requested more

information earlier, as "[t]his motion is the first and only notice of any perceived deficiency

in [p]laintiff's discovery production or responses[,]" (Dkt. #141, at 8)(emphasis omitted),

Rule 26(a) "requires a party to provide a computation of any category of damages

voluntarily, i.e., 'without awaiting a discovery request[.]'" Design Strategy, 469 F.3d at 295.

As the Advisory Committee Notes to Rule 26(a)(1)(c) provide, the rule

       imposes a burden of disclosure that includes the functional equivalent of a
       standing Request for Production under Rule 34. A party claiming damages
       or other monetary relief must, in addition to disclosing the calculation of such
       damages, make available the supporting documents for inspection and
       copying as if a request for such material had been made under Rule 34.

FED. R. CIV. P. 26 Advisory Committee Notes to 1993 Amendments; Design Strategy, 469 F.3d

at 296. Accordingly, plaintiff's failure to provide the computation and basis for her claimed

compensatory damages is a violation of Rule 26.

       Rule 37(c)(1) provides:

                 If a party fails to provide information or identify a witness as required
       by Rule 26(a) or (e), the party is not allowed to use that information . . . at
       a trial, unless the failure was substantially justified or is harmless. In addition
       to or instead of this sanction, the court, on motion and after giving an
       opportunity to be heard:


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               (A) may order payment of the reasonable expenses, including
               attorney's fees, caused by the failure;

               (B) may inform the jury of the party's failure; and

               (C) may impose other appropriate sanctions . . . .

FED. R. CIV. P. 37(c)(1). As Judge Arterton ruled five years ago, "[t]he Court has 'wide

discretion' to determine whether, how, and how severely to sanction an offending party."

Rogers v. Apicella, 606 F. Supp. 2d 272, 283 (D. Conn. 2009), citing Design Strategy, 469

F.3d at 294; Patterson v. Balsamico, 440 F.3d 104, 117 (2d Cir. 2006)(additional citations

omitted). "The purpose of Rule 37(c) is to prevent the practice of 'sandbagging' an adversary

with new evidence[,]" however, "preclusion of evidence is a harsh remedy, [that] should be

imposed only in rare situations." Ritchie Risk-Linked Strategies, 280 F.R.D. at 156 (multiple

citations & internal quotations omitted). In deciding whether evidence should be precluded

under Rule 37(c), courts should consider the following four factors: "(1) the party's

explanation for the failure to comply with the discovery [requirement]; (2) the importance

of . . . the precluded [evidence]; (3) the prejudice suffered by the opposing party as a result

of having to prepare to meet the new testimony; and (4) the possibility of a continuance."

Id. at 157 (internal quotations omitted), quoting Softel, Inc. v. Dragon Medical & Scientific

Comms., Inc., 118 F.3d 955, 961 (2d Cir. 1997), cert. denied, 532 U.S. 1020 (1998).

       "The party that fails to comply with Rule 26(a) or (e) bears the burden of proving

both that its non-compliance was substantially justified, and that it was harmless." Ritchie

Risk-Linked Strategies, 280 F.R.D. at 159 (multiple citations omitted). "Harmless[ness]

means an absence of prejudice to the defendant."          Id. (citation & internal quotations

omitted). In this case, plaintiff has not offered any explanation for the failure to comply with

Rule 26(a)(1)(A)(iii), this evidence is integral to plaintiff's damages claim, and conversely,

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to defendant's exposure at trial, and there is no likelihood of a continuance as this case is

scheduled for a jury trial in a mere two weeks. Plaintiff contends that defendant has suffered

no prejudice, and neither plaintiff, nor her counsel acted in bad faith or willfully, and thus

there is "no basis for the imposition of sanctions. . . ." (Dkt. #141, at 9-10). While there is

no evidence that plaintiff or her counsel acted in bad faith or willfully,12 this Court disagrees

with plaintiff's contention that defendant has suffered no prejudice. This case is on the eve

of trial and defendant has been deprived the opportunity to fully prepare for such trial as

plaintiff's failure to comply with Rule 26(a) has deprived him the opportunity to be informed

of, and to prepare his response to, plaintiff's damages claim. On or before August 4,

2014, plaintiff shall produce her damages calculation, and all underlying documents, in

compliance with Federal Rule of Civil Procedure 26(a)(1)(A)(iii), and consistent with this

Ruling.

          "Even where preclusion is not ordered under Rule 37, it is generally appropriate, at

a minimum, to require a party who has not complied with its discovery obligations to pay the

reasonable fees and costs incurred by the moving party in seeking disclosure and/or in

seeking discovery sanctions." Ritchie Risk-Linked Strategies, 280 F.R.D. at 157 (multiple

citations omitted). Defendant may submit a Motion for Attorney's fees to recover fees spent

on this motion and the reply brief, and for a reasonable number of hours spent preparing for

his response to plaintiff's damages claim. See id. ("Monetary sanctions are appropriate to

punish the offending party for its actions [and] to deter the litigant's conduct, sending the

message that egregious conduct will not be tolerated.")(citations & internal quotations



          12
           "[A]lthough a 'bad-faith' violation of the Rule 26 is not required in order to exclude
evidence pursuant to Rule 37, it can be taken into account as part of the party's explanation for its
failure to comply." Design Strategy, 469 F.3d at 296 (emphasis in original).

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omitted).



               6. CALCULATION OF FUTURE DAMAGES WITHOUT AN EXPERT

       In light of the Court's conclusion in Section I.D.3. supra that plaintiff's damages are

limited to the date she retired, the Court need not address defendant's argument regarding

the requirement of expert testimony for future damages calculation.

       E. DEFENDANT'S THIRD MOTION IN LIMINE (Dkt. #128)

       The Summary Judgment Ruling included the following:

       Once the Assistant Chiefs became part of the firefighter's union, they,
       including plaintiff and her husband, negotiated for the inclusion of overtime
       pay in pension benefit calculations, which calculation method increased the
       Town's financial liability to retiring firefighters. (Miron Depo. at 172, 175,
       177). Plaintiff testified at her deposition that she, and the three other
       Assistant Chiefs, were told "to be careful what we wished for . . ., which
       [plaintiff] took as a threat against the assistant chiefs that joined [the union.]
       They wanted to take some benefits away from us." (Plaintiff's Depo. at 102;
       see id. at 107-10). Similarly, Greg Anderson, the firefighter's union Vice
       President since 2010, averred that he heard David Dunn, an outside labor
       consultant for the Town, make this statement, and that Town's Director of
       Human Resources, Winterbottom, repeated the statement immediately
       thereafter. (Anderson Aff't ¶¶ 5, 8). Dunn acknowledges that he stated words
       to the effect of "Be careful of what you wish for, you may get it[,]" which was
       not meant "to intimate that there would be repercussions or retaliation[,]" but
       which "had to do with certain privileges and rights that the assistant chiefs
       enjoyed as non-union members that were not available to union members."
       (Dunn Aff't ¶¶ 6-8). He denies that Winterbottom ever made this statement.
       (Id. ¶ 10). However, in addition to plaintiff and Anderson, Daniel Hunsberger,
       the attorney for the union, avers that at one of the meetings involving the
       Assistant Chiefs' negotiations to be re-incorporated into the collective
       bargaining unit, Winterbottom warned the Assistant Chiefs, "Be careful what
       you wish for because you just might get it." (Hunsberger Aff't ¶¶ 3-4, 9).
       Like plaintiff and Anderson, Hunsberger "understood this statement to be a
       threat that if the Assistant Chiefs continued to seek union membership, that
       the Town would make sure they regretted it." (Id. ¶ 10).

2014 WL 558872, at *20 (footnote omitted).         Accordingly, as held in the Ruling, "[t]his

disputed question of fact remains an issue for the jury." Id. Thus, this Court concluded that:

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       In light of the evidence posited about plaintiff's and her husband's union
       activity, the perceived threat made by the Director of Human Resources of
       the Town, and defendant Miron's position regarding cost containment
       measures and the Assistant Chiefs re-joining the union in 2008, there exists
       a question of fact as to the impact plaintiff's union involvement and activity
       had on the ultimate decision not to promote plaintiff. Summary judgment
       cannot be granted in favor of defendant or plaintiff on this issue.

Id. at *22.

       Defendant now seeks to preclude evidence, argument, or reference to the statement,

"be careful what you wish for, you may get it[,]" related variations thereof, and the

subjective states of mind of individuals who allegedly heard and interpreted this statement.

(Dkt. #128, at 1-8). Plaintiff counters that testimony regarding statements made by Dunn

and Winterbottom are statements by party opponents under FED. R. EVID. 801(d)(2), and

thus are not hearsay; whether the statement is viewed by the witnesses as a threat is

relevant; and the statement is relevant as direct evidence of retaliatory animus. (Dkt. #143,

at 4-6). In his reply brief, defendant reiterates that defendant Town is no longer a party;

plaintiff's subjective state of mind does not control the analysis; and it is the intent and

understanding of the speaker that is relevant to establishing evidence of a retaliatory animus.

(Dkt. #148, at 1-3).

       Defendant is correct that these statements do not fall within Federal Rule of Evidence

803(3), the "state of mind exception to the hearsay rule[,]" in that the statements do not

express an intent by the same person to perform a certain act in the future. U.S. v. Lea, 131

F. App'x 320, 321-22 (2d Cir. 2005), citing United States v. Best, 219 F.3d 192, 198 (2d Cir.

2000)("A declarant's out-of-court statement as to his intent to perform a certain act in the

future is not excludable on hearsay grounds."), cert. denied, 532 U.S. 1007 (2001); Shelden

v. Barre Belt Granite Employer Union Pension Fund, 25 F.3d 74, 79 (2d Cir. 1994)("[U]nder


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[Rule 803(3)], the existence of the plan or intention may be proven by evidence of the

person's own statements as to its existence.")(emphasis in original)(citation and internal

quotations omitted). Additionally, Rule 803(3) "expressly excludes from the operation of the

rule a statement of belief to prove the fact believed. . . . [T]he state-of-mind exception does

not permit the witness to relate any of the declarant's statement as to why he held that

particular state of mind, or what he might have believed[.]" U.S. v. Cohen, 631 F.2d 1223,

1225 (5th Cir. 1980)(footnote omitted), rehearing denied, 636 F.2d 315 (5th Cir. 1981).

        Plaintiff points to the affidavit of Dunn in which he averred that he stated, "in regards

to the application of the assistants chiefs to join the union, words to the effect of: 'Be careful

what you wish for, you may get it.'" (Dkt. #83, Exh. B, Dunn Aff't ¶ 6). Dunn then explained

the factual basis for his statement, which was uttered in his capacity as a labor consultant

for the Town at that time: "[t]he meaning of this statement had to do with certain privileges

and rights that the assistant chiefs enjoyed as non-union members that were not available

to union members." (Id. ¶ 7). Rule 801(d)(2) of the Federal Rules of Evidence "specifically

provides that a statement is not hearsay if it is offered against a party and is either ‘(A) the

party's own statement, in either an individual or a representative capacity or . . . (D) a

statement by the party's agent . . . concerning a matter within the scope of the agency or

employment, made during the existence of the relationship.’" Spigel v. Schulmann UAK

Mgmt Co, Inc., 604 F.3d 72, 82 (2d Cir. 2010).

        In 2009, the late U.S. District Judge Mark R. Kravitz issued a decision in Ciacciarella

v. Bronko, 613 F. Supp. 2d 262 (D. Conn. 2009), that is instructive to the issue at hand. In

Ciacciarella, the plaintiff was the former paralegal of the part-time town counsel of

Naugatuck, Donald J. Zehnder, who allegedly was discharged from her job at the insistence


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of town Mayor, Michael Bronko, because plaintiff had supported defendant Bronko's

opponent in the mayoral race. Id. at 264-65. Two probate clerks had overheard defendant

Zehnder tell a friend that defendant Bronko threatened Zehnder that he could only continue

as town counsel if he fired plaintiff. Id. at 267. Judge Kravitz held that the testimony of the

two probate clerks was admissible under Rule 801(d)(2)(A) as against defendant Zehnder,

but reserved decision until trial about whether their testimony was admissible against

defendant Bronko. Id. at 267-69 & n.3.

        In this case, statements attributed to Dunn, and repeated by Winterbottom, the

Town's Director of Human Resources, are likely admissible under Federal Rule of Evidence

801(d)(2), who, given their positions, presumably are defendant Miron's agents, with regard

to a matter within the scope of their agency or employment. See also Tremalio v. Demand

Shoes, LLC, No. 3:12 CV 357(VLB), 2013 WL 5445258, at *7 ( D. Conn. Sept. 30, 2013).13

At the final pretrial conference scheduled for July 29, 2014, the Magistrate Judge will require

counsel to submit additional filings on this hearsay issue.

        F. DEFENDANT'S FOURTH AND SIXTH MOTIONS IN LIMINE (Dkts. ##129, 131)14

        The fourth and sixth Motions in Limine address testimony relating to plaintiff's

qualifications. In the fourth motion, defendant moves for an order in limine precluding

plaintiff from offering evidence, referring to or arguing that she was the "better" or "more"



        13
           Additionally, it is possible that these comments may be used as evidence of a retaliatory
animus held by the individuals who made the comments. See Farrar v. Town of Stratford, 537 F.
Supp. 2d 332, 355 & n.6 (D. Conn. 2008)(a "reasonable finder of fact could find that" statements
to plaintiff that "It's open season[,]" and that "You filed too many grievances. You ought to be glad
you got a job[,]" are "direct evidence that [plaintiff's] supervisors harbored retaliatory animus
against him[.]")(footnote omitted). In this case, defendant's intent is at issue if those who uttered
this statement were acting as his agents.
        14
         Defendant's Fifth Motion in Limine is granted. See note 6 supra.

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qualified candidate of the four finalists for the position of Deputy Fire Chief. (Dkt. #129, at

1-3). In the sixth motion, defendant moves for an in limine order preventing plaintiff from

arguing, presenting and/or introducing evidence that she worked on the "busiest engine at

the busiest fire house." (Dkt. #131, at 1-4, quoting Dkt. #29, Amended Complaint ¶ 36).

        Defendant contends that he, as Mayor, "ha[d] the discretion under the Town Charter

to hire whomever he wanted to the position of Deputy Fire Chief, regardless of their

respective qualifications." (Dkt. #129, at 3). Defendant also contends that asserting that

plaintiff worked on the "busiest engine at the busiest fire house[,]" is too vague of a

statement to be relevant. (Dkt. #131, at 1-4).

        In her brief in opposition to defendant's fourth Motion, plaintiff includes excerpts from

the Town Charter that were in effect at that time relevant to this case. (See Dkt. #144, at

4-5). As discussed above, these excerpts provide that among the Mayor's duties is the

"[s]election, appointment and hiring of department heads, except as otherwise provided in

this Charter[,]" the "[a]dopting as well as updating a written policy for recruiting, screening,

investigating and hiring all Town employees in accordance with approved job descriptions[,]"

and the appointment of the "Directors[,]" which include the Fire Chief, Chief of Police,

Administrator of Emergency Medical Services, Human Resources, . . . and the heads of each

administrative department." (Id.). The Mayor shall choose the Directors "on the basis of his

or her general executive and administrative experience and ability and of his or her

education, training and experience in the class of work which he or she is to administer."

(Id.). Plaintiff posits that nowhere in the Charter is there a "specific grant of authority to the

Mayor to hire a Deputy Fire Chief without regard to [his or her] qualifications[.]" (Id. at 6).

Additionally, as plaintiff observes, defendant's assertion of an unlimited discretion to hire is


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a "previously undisclosed special defense." (Id. at 2; see also Dkt. #142, at 2-4).

       In his reply brief, defendant clarifies that, "[o]bviously, . . . defendant's discretion

must be exercised, like all discretion, within the bounds of the law[,]" and "[o]nce the four

finalists were selected, the Mayor had the discretion to weigh the various relevant factors as

he saw fit." (Dkt. #150, at 1-2 & n.1).

       In his Answer, defendant Miron asserted nine special defenses to the Fifth and Sixth

Counts, most notably, that

       1. The Fifth Cause of Action is barred because, even if the Plaintiff were able
       to demonstrate that her association touched on a matter of public concern,
       the decision to hire another individual instead of the Plaintiff was based on
       legitimate, non-discriminatory factors including but not limited to the
       candidates respective merits, experience, education, skills, responses and
       performance during the interview process.

       ...

       1. The Sixth Cause of Action, alleging violations of 42 U.S.C. § 1983 against
       the Defendant Miron in his individual capacity, is barred because, even if the
       Plaintiff were able to demonstrate that her association touched on a matter
       of public concern, the decision to hire another individual instead of the
       Plaintiff was based on legitimate, non-discriminatory factors including but not
       limited to the candidates respective merits, experience, education, skills,
       responses and performance during the interview process.

(Dkt. #57, at 12-13)(emphasis added).        Similarly, in the Summary Judgment Ruling,

summary judgment was denied on these Counts on grounds that:

        A reasonable jury could conclude, in light of the evidence, that the decision
       not to promote plaintiff was based only upon the qualifications and
       performances of the candidates, or a reasonable jury could equally conclude
       defendants considered plaintiff’s union involvement along with the candidates'
       qualifications and performances, and that defendants refused to promote
       plaintiff, less than a year after the Town's contentious negotiations with the
       firefighter's union, in retaliation for her involvement.

2014 WL 558872, at *22 (part emphasis in original, additional emphasis added)(citation

omitted). Additionally, as observed in the Summary Judgment Ruling, "a review of the

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resumes and qualifications of Kepchar and Maffett reveal their qualifications and experience,

which exceed that possessed by plaintiff. However, defendant Miron testified that plaintiff

was 'obviously, very qualified[.]'" Id. (citation omitted). Plaintiff cannot now be precluded

from offering evidence to counter defendant's special defenses, nor can plaintiff be precluded

from presenting the evidence upon which this Court relied in holding that on these remaining

issues, a question of fact exists for a jury.

       As defendant acknowledges in his reply brief, plaintiff's qualifications and performance

as a candidate are relevant, and defendant "has no objection to . . . plaintiff attempting to

offer competent, relevant proof to support her claims that the other two finalists for the

position of Deputy Fire Chief . . . did not meet the requirements set forth in the job

description . . . of Deputy Fire Chief, for whatever weight the jury assigns to that type of

proof, as evidence of an intent to retaliate." (Dkt. #150, at 2). That said, the terms "better"

or "more" and "busiest engine . . . at the busiest firehouse" are vague without the necessary

context. Plaintiff may introduce evidence of her qualifications and performance, and contrast

such with the qualifications of the other candidates so that the jury may reach a

determination as to plaintiff's qualifications in relation to the other candidates. Similarly,

plaintiff may offer objective evidence to demonstrate the activity of the engine and firehouse

in which she worked, to allow the jury to reach a conclusion as to the demands placed on

this engine and firehouse, and particularly, the demands placed on plaintiff working on that

engine, in that firehouse.

                                       II. CONCLUSION

       For the reasons stated above, plaintiff's Motion in Limine (Dkt. #127) is granted in

part and denied in part to the extent provided in Section I.B supra;


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       defendant's first Motion in Limine (Dkt. #120) is granted;

        defendant's second Motion in Limine (Dkt. #124) is granted in part and denied in

part to the extent provided in Section I.D supra;

       defendant's third Motion in Limine (Dkt. #128) is denied without prejudice to renew

at a later time;

       defendant's fourth Motion in Limine (Dkt. #129) is granted in part;

       defendant's fifth Motion in Limine (Dkt. #130) is granted; and

        defendant's sixth Motion in Limine (Dkt. #131) is granted in part.

       On or before August 4, 2014, plaintiff shall produce her damages calculation

consistent with this Ruling, and all underlying documents, in compliance with Federal Rule

of Civil Procedure 26(a)(1)(A)(iii). Defendant may submit a Motion for Attorney's Fees, in

accordance with Section I.D.3 supra.

       Dated this 25th day of July, 2014, at New Haven, Connecticut.




                                              /s/ Joan G. Margolis, USMJ
                                             Joan Glazer Margolis
                                             United States Magistrate Judge




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